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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )    4:04CR3128
                                      )
     v.                               )
                                      )
MARK R. SCHNEIDER,                    )      ORDER
                                      )
     Defendant.                       )



     IT IS ORDERED,

     A hearing on defendant's competency to stand trial is set
for May 27, 2005 at 1:30 p.m.

     Dated April 29, 2005.

                                    BY THE COURT


                                    s/David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
